                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                                   )
                                                    )
               v.                                   )       CASE NO. DNCW3:03CR68-01
                                                    )       (Financial Litigation
DAVID SIMONINI.                                     )          Unit)

                                     WRIT OF EXECUTION

TO THE UNITED STATES MARSHAL
and SIMONINI INVESTMENTS, LLC:

       A judgment was entered on January 26, 2005 (Docket No. 78) in the United States District

Court for the Western District of North Carolina in favor of the United States of America and

against the Defendant, David Simonini, whose last known address is XXXXXXXXXXXXXXXX,

Charlotte, NC 28226, in the sum of $4,914,149.98. The balance on the account as of September 16,

2011, is $4,513,975.31.

       THEREFORE, YOU ARE HEREBY COMMANDED to levy and/or execute on property

and Simonini Investments, LLC is commanded to turn over property in which the Defendant

David Simonini has a substantial nonexempt interest, said property being funds issued or due to be

issued by Market America, Inc. to Simonini Investments, LLC, including but not limited to a

check in the amount of approximately $1,500.00 payable to Simonini Investments, LLC, at the

following address: Simonini Investments, LLC, 7804 Fairview Road, Suite C, PMB#327, Charlotte,

NC 28226.                                       Signed: September 29, 2011
       SO ORDERED.




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